         Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 1 of 30



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS


ARKANSAS TIMES LP                                                                     PLAINTIFF

        v.                          Case No. 4:18CV00914 BSM

MARK WALDRIP, JOHN GOODSON,
MORRIL HARRIMAN, KELLY EICHLER,
DAVID PRYOR, STEPHEN BROUGHTON,
C.C. GIBSON, SHEFFIELD NELSON,
TOMMY BOYER, and STEVE COX, in their
official capacities as Trustees of the University of
Arkansas Board of Trustees                                                        DEFENDANTS


                    BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION
                           FOR PRELIMINARY INJUNCTION

        Plaintiff challenges an Arkansas law prohibiting state entities from contracting on

ordinary terms with companies that boycott Israel. And to make that prohibition effective, the

law requires entities to certify that they are not currently boycotting and do not intend to boycott

Israel for the length of the contract.

        Plaintiff—a free weekly paper—has never boycotted Israel and does not claim that it ever

intends to (or has so much as even contemplated boycotting Israel). Thus, as relevant here, the

challenged provision merely required Plaintiff to execute a truthful certification that it is not

currently boycotting Israel and will not do so for the contract’s duration. Rather than make a

truthful certification, Plaintiff brought this lawsuit challenging a law that has been in effect—

without issue—for over a year.

        Plaintiff’s First Amendment challenge is unlikely to succeed on the merits because

Plaintiff lacks standing to pursue one of its First Amendment theories, and because boycotting

Israel, as defined by Arkansas law, is not protected First Amendment activity. Furthermore,



                                                 1
                 Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 2 of 30



Plaintiff has failed to show it will suffer irreparable harm absent an injunction, because Plaintiff

will suffer—at most—only monetary damages. Plaintiff’s motion should, therefore, be denied.

                                                           Facts and Procedural Background

              On August 1, 2017, when Act 710 went into effect, Arkansas became the twenty-sixth

state to prohibit public contracting on ordinary terms with companies that boycott Israel or to

prohibit public investment in companies that boycott Israel.1 See Ark. Code Ann. §§ 25-1-501–

04. That Act both prohibits public investments in companies that boycott Israel, see Ark. Code

Ann. § 25-1-504, and prohibits public contracting on ordinary terms with companies that boycott

Israel. See Ark. Code Ann. § 25-1-503. Specifically, the contracting prohibition bars public

entities from contracting with a company unless that company either (1) certifies that it is not

currently engaged in a boycott of Israel and will not boycott Israel for the duration of the

contract, or (2) agrees to contract at a price twenty percent cheaper than that of the cheapest

                                                            
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  See Ala. Code § 41-16-5 (prohibiting public contracting at regular prices with companies that boycott any nation,
including Israel, that is a member of the World Trade Organization or with which the United States has free trade
agreements); Ariz. Rev. Stat. § 35.393.01 (prohibiting public contracting with companies that boycott Israel); Cal.
Pub. Cont. Code § 2010 (prohibiting public contracting with companies that fail to certify that “any policy that they
have against any sovereign nation or peoples recognized by the government of the United States, including, but not
limited to, the nation and people of Israel, is not used to discriminate in violation of [state civil rights law]”); Colo.
Rev. Stat. § 24.54.8-202 (prohibiting state employee retirement fund investment in companies that have “economic
prohibitions against Israel”); Fla. Stat. § 215.4725 (prohibiting state investment in companies that boycott Israel);
Fla. Stat. § 287.135 (prohibiting public contracting with companies that boycott Israel); Ga. Code Ann. § 50-5-85
(same); Ill. Comp. Stat. Ann. § 5/1-110.16 (prohibiting state employee retirement fund investment in companies that
boycott Israel); Ind. Code § 5-10.2-11-16 (same); Iowa Code §§ 12J.2, 12J.4 (same); Iowa Code §§ 12J.2, 12J.6
(prohibiting public contracting with companies that boycott Israel); Kan. Stat. Ann. § 75-3740f (same); Exec Order
No. 2018-905 (Ky. Nov. 15, 2018) (same); Exec. Order No. JBE 2018 – 15 (La. May 22, 2018) (same); Exec. Order
No. 01.01.2017.25 (Md. Oct. 23, 2017) (same); Mich. Comp. Laws Ann. § 18-1261 (same); Minn. Stat. Ann. §§
3.226, 16C.053 (same); Nev. Rev. Stat. Ann. § 333.338 (same); Nev. Rev. Stat. Ann. §§ 355.330, 355.345
(prohibiting state investment in companies that boycott Israel); N.J. Stat. Ann. § 52:18A-89.14 (same); Exec. Order
No. 157 (N.Y. June 5, 2016) (same); N.C. Gen. Stat. Ann. § 147-86.81 (same); N.C. Gen. Stat. Ann. § 147-86.82
(prohibiting public contracting with companies that boycott Israel); Ohio Rev. Code Ann. § 9.76 (prohibiting public
contracting with companies that boycott any nation, including Israel, that is a member of the World Trade
Organization or with which the United States has free trade agreements); 62 Pa. Cons. Stat. Ann. §§ 3602, 3604
(prohibiting public contracting with companies that boycott nations with which Pennsylvania is not prohibited by
federal law from trading with, and declaring that the purpose of this enactment is “stand[ing] with Israel”); R.I. Gen.
Laws §§ 37-2.6-3–4 (prohibiting public contracting on ordinary terms with companies that boycott nations with
which the state can enjoy open trade); S.C. Code Ann. § 11-35-5300 (same); Tex. Gov’t Code Ann. §§ 808.051–57
(prohibiting state investment in companies that boycott Israel); Tex. Gov’t Code Ann. § 2270.002 (prohibiting
public contracting with companies that boycott Israel); Exec. Order No. 261 (Wis. Oct. 27, 2017) (same).

                                                                         2
                 Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 3 of 30



business that does make the certification. See id. The Act defines “boycott of Israel” as

“engaging in refusals to deal, terminating business activities, or other actions that are intended to

limit commercial relations with Israel, or persons or entities doing business in Israel or in Israeli-

controlled territories, in a discriminatory manner.” Ark. Code Ann. § 25-1-502(1)(A)(i). Until

this action, no contractor challenged the Act’s contracting provisions, and there was no

documented case of a contractor refusing to make the requisite certification.

              In October 2018, fourteen months after the Act went into effect, the plaintiff—Arkansas

Times LP, a limited partnership that publishes the Arkansas Times, a free alternative

newsweekly, Doc. 1 at 2 ¶ 3—was negotiating advertising contracts with the University of

Arkansas Pulaski Technical College (the “College”). Id. at 5 ¶ 21. By that date, Plaintiff and the

College had already executed twenty-five contracts in 2018 alone, following the thirty-six they

executed in 2017. Id. at 5 ¶ 20. Plaintiff alleges that each of these sixty-one contracts were

“executed . . . prior to the requirement of the boycott pledge in issue.” Id. But as Plaintiff also

(and more accurately) alleges, the “boycott pledge” became a statutory requirement in August

2017, id. at 3 ¶ 15, and Plaintiff had, before the filing of this lawsuit, “published articles that

[we]re critical of the Act[.]” Id. at 6 ¶ 22. Indeed, on August 30, September 1, and October 1,

2018, Plaintiff published a series of blog posts urging a “willing plaintiff” to challenge the Act

and retain Plaintiff’s current counsel in doing so, until it finally decided to challenge the Act

itself after failing to rustle up anyone else who would.2

                                                            
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  Max Brantley, Arizona judge blocks Israel boycott law. Arkansas, anyone?, Arkansas Times: Arkansas Blog (Oct.
1, 2018), https://www.arktimes.com/ArkansasBlog/archives/2018/10/01/arizona-judge-blocks-israel-boycott-law-
arkansas-anyone (“Care to join a push for free speech? The ACLU of Arkansas can help.”); see also Max Brantley,
Growing free speech concern on Israel boycott law, Arkansas Times: Arkansas Blog (Aug. 30, 2018),
https://www.arktimes.com/ArkansasBlog/archives/2018/08/30/growing-free-speech-concern-on-israel-boycott-law
(“A lawsuit similar to the one filed in Kansas should be possible in Arkansas. . . . All that’s needed is a plaintiff
being forced to sign such a contract who’d like to object.”); Lindsey Millar, Wanna work for the state AND boycott
Israel?,         Arkansas          Times:          Arkansas           Blog         (Sept.          1,         2018),
https://www.arktimes.com/ArkansasBlog/archives/2018/09/01/wanna-work-for-the-state-and-boycott-israel (sharing

                                                               3
                 Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 4 of 30



              Notwithstanding that the Act governed dozens of Plaintiff’s prior contracts with the

College, in October Plaintiff suddenly balked at certifying that it would not boycott Israel for the

duration of the short-term advertising contracts it was then negotiating with the College. Doc. 1

at 6 ¶ 23. By Plaintiff’s own allegations and statements, such a certification would merely state

the truth. Plaintiff itself alleges that it “does not currently engage in a boycott of Israel or Israel-

occupied territories.” Id. at 6 ¶ 22. Plaintiff further posted on its website—the day it filed this

action—that it has “never participated in a boycott of Israel or editorialized in support of one.”

Lindsey Millar, Arkansas Times challenges law that requires state contractors to pledge not to

boycott Israel in federal court, Arkansas Times: Arkansas Blog (Dec. 11, 2018),

https://www.arktimes.com/ArkansasBlog/archives/2018/12/11/arkansas-times-challenges-law-

that-requires-state-contractors-to-pledge-not-to-boycott-israel-in-federal-court (emphasis added).

The only Israel-boycott-related activity Plaintiff alleges it has engaged in is criticizing the Act

itself in the blog posts cited above, see Doc. 1 at 6 ¶ 22—an activity which it does not even

attempt to suggest falls within the Act’s definition of boycotting Israel.

              Nevertheless, Plaintiff refused to certify, in its October contracts with the College, that it

was not currently boycotting Israel and would not boycott Israel for the duration of those short-

term contracts. Although such a certification would, by Plaintiff’s own admission, have been

accurate, Plaintiff’s publisher’s litigation “position” is that boycotting Israel is protected speech

and that “it is unacceptable for Plaintiff to enter into an advertising contract . . . that is

conditioned on the unconstitutional suppression of protected speech[.]” Id. at 6 ¶ 23. Plaintiff

also refuses to avoid the certification requirement by selling its advertising to the College at a

twenty percent discount. Id. at 7 ¶ 28. As a result of its refusals comply with the Act’s

                                                                                                                                                                                                
“PSA” from ACLU of Arkansas that the ACLU of Arkansas “welcome[d] anyone contracting with the state or local
government . . . to get in touch with us”).

                                                                                              4
         Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 5 of 30



provisions, Plaintiff alleges that it lost two advertising contracts with the College and that it

anticipates losing more. Id. at 7 ¶ 27. That, Plaintiff alleges, led it to file this action against the

Trustees of the University of Arkansas, of which the College is a part, seeking a declaratory

judgment that the Act’s contracting provisions violate the First Amendment, both facially and as

applied to the Plaintiff, id. at 9, and an injunction barring the Trustees from requiring those

contracting with the University of Arkansas to certify that they will not boycott Israel for the

duration of their contracts with the University. Id.; Doc. 2 at 1. Alternatively, Plaintiff seeks an

injunction against the Trustees to prevent them from requiring Plaintiff to make that certification.

Doc. 1 at 9.

                                        Standard of Review

       The standard of review of a motion for a preliminary injunction is a balancing of the

following four factors: likelihood of success on the merits, the threat of irreparable harm to the

movant, the balance between that harm and the harm that granting the injunction would cause

defendants, and the public interest. See Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113

(8th Cir. 1981) (en banc). However, “in a case such as this one, where a preliminary injunction

is sought to enjoin the implementation of a duly enacted state statute, [the court] must . . . make a

threshold finding that [the movant] is likely to prevail on the merits.” Planned Parenthood

Minn., N.D., S.D. v. Rounds, 530 F.3d 724, 732–33 (8th Cir. 2008) (en banc) (footnote omitted).

Further, in this context, “likely” does not merely mean “a fair chance of prevailing on the merits,

with a fair chance meaning something less than 50 percent.” Id. at 730 (internal quotation marks

omitted). Rather, the movant must prove that it is more likely than not to prevail on the merits

before a court may grant relief, see id. at 731–32, though courts remain free to deny a motion

solely on the basis of a lack of irreparable harm, without reaching the merits. See id. at 732 n.5



                                                  5
           Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 6 of 30



(“[I]n some cases, lack of irreparable injury is the factor that should begin and end the

Dataphase analysis. In this respect, where a duly enacted statute is involved, a likelihood of

success on the merits may be characterized as one, but not the only, threshold showing that must

be met by a movant for a preliminary injunction.”) (citation omitted).

                                              Argument

I.        Plaintiff is unlikely to succeed on the merits of its First Amendment claim.

          In its brief in support of its preliminary injunction motion, Plaintiff erroneously contends

that it is likely to prevail on two independent First Amendment theories. See Doc. 3 at 7. First,

Plaintiff claims that the Act compels speech regarding whether public contractors will boycott

Israel, which, it says, is tantamount to “compel[ling] speech regarding contractors’ political

beliefs, association, and expression.” Id. Second, Plaintiff claims that the Act “restricts state

contractors from engaging in protected expression and association, including both boycott

participation and boycott-related speech[.]” Id. Plaintiff is unlikely to succeed on the merits of

either of these claims. As a threshold matter, it lacks standing to pursue its boycott-restriction

theory.     Beyond standing both claims fail on their merits because boycotting Israel is not

protected by the First Amendment.

          A.     Plaintiff lacks standing to challenge the Act’s prohibition of public contractors
                 boycotting Israel.

          “Standing is always a ‘threshold question’ in determining whether a court may hear a

case.” 281 Care Comm. v. Arneson, 638 F.3d 621, 627 (8th Cir. 2011) (quoting Eckles v. City of

Corydon, 341 F.3d 762, 767 (8th Cir. 2003)). To establish standing, a plaintiff must establish

three elements: an injury in fact, traceability of that injury to the conduct of which the plaintiff

complains, and redressability of the injury by a favorable decision. See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560–61 (1992). Here, Plaintiff has no standing to claim that the Act

                                                   6
         Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 7 of 30



unconstitutionally restricts public contractors from boycotting Israel because Plaintiff has not

alleged that it intends to boycott Israel or has refrained from Israel boycotting that it would have

engaged in but for the Act.

       “In the First Amendment context, ‘two types of injuries may confer Article III standing to

seek prospective relief.’” Missourians for Fiscal Accountability v. Klahr, 830 F.3d 789, 794 (8th

Cir. 2016) (quoting Ward v. Utah, 321 F.3d 1263, 1267 (10th Cir. 2003)). The first requires

“alleging an intention to engage in a course of conduct . . . proscribed by a statute,” such that the

plaintiff faces a risk of prosecution or some other sanction, such as the loss of government

employment, funding, or a government contract. Id. (internal quotation marks omitted) (quoting

Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)). “Second, [a plaintiff]

can establish standing by alleging that it self-censored.” Id. To show self-censorship, a plaintiff

“needs . . . to establish that he would like to engage in arguably protected speech, but that he is

chilled from doing so by the existence of the statute.” 281 Care Comm., 638 F.3d at 627

(emphasis added). The plaintiff must also show that its “decision to chill [its] speech in light of

the challenged statute was ‘objectively reasonable,’” id. (quoting Zanders v. Swanson, 573 F.3d

591, 594 (8th Cir. 2009)), and will therefore fail to show standing if its self-censorship is based

on an unreasonable reading of the statute, however sincerely held. See Zanders, 573 F.3d at

594–95. In short, to challenge a speech prohibition a plaintiff must allege that it either intends to

engage in, or wants to engage in but has for fear of being penalized declined to engage in, the

sort of speech that is prohibited.

       Applying this rule here, Plaintiff does not have standing to make its boycott-prohibition

claim, because it has not alleged that it intends to boycott, or that it wants to boycott and has

censored itself from doing so in order to avoid losing contracts. While Plaintiff has refused to



                                                 7
                 Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 8 of 30



comply with the Act, Plaintiff does not allege that it has violated the Act by boycotting Israel,

nor that it intends to do so in the future—nor even that it has ever contemplated boycotting

Israel. Indeed, Plaintiff forthrightly alleges, and publicly states, that it has never boycotted

Israel. The only remotely boycotting-related activity or speech in which Plaintiff alleges it has

engaged is criticism of the Act’s prohibition of boycotting—not even advocacy of boycotting

itself. Plaintiff does not attempt to argue that it believes criticism of the Act is itself a boycott of

Israel within the Act’s definition. Any belief to that effect would be utterly unreasonable.3

Neither has Plaintiff self-censored in order to comply with the Act and continue contracting with

the College; rather, it has refused to comply with the Act whatsoever and alleges it has lost

contracts as a result. Thus, Plaintiff does not allege that it has refrained from boycotting Israel in

order to contract with the College and would boycott Israel but for the Act.

              Because Plaintiff neither alleges that it intends to boycott Israel, nor that it would like to

and has only refrained from boycotting Israel to comply with the Act, Plaintiff has no standing to

challenge the Act’s prohibition of boycotting Israel. In challenging that prohibition, Plaintiff is

“simply attempting to obtain an advisory opinion or to enlist the court in a general effort to purge

the [Arkansas] statute books of unconstitutional legislation.”                       United Food & Commercial

Workers Int’l Union v. IBP, Inc., 857 F.2d 422, 430 (8th Cir. 1988). This Court has no

jurisdiction to render advisory opinions or engage in such purges; its jurisdiction is


                                                            
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  The Act’s definition of a boycott of Israel, at its broadest, embraces “other actions that are intended to limit
commercial relations with Israel, or persons or entities doing business in Israel or in Israeli-controlled territories, in a
discriminatory manner.” Ark. Code Ann. § 25-1-502(1)(A)(i). First, both constitutional avoidance, and the canon
providing that general terms in a list are read in the context of specific terms in that list, which Arkansas courts
follow, see Edwards v. Campbell, 370 S.W.2d 250, 253 (Ark. 2010), would counsel in favor of reading “other
actions” to only cover conduct, not pure speech, like the other items listed in the definition of Israel boycotting. See
Ark. Code Ann. § 25-1-502(1)(A)(i) (providing that “refusals to deal [or] terminating business activities” with the
requisite purpose count as boycotts of Israel). Second, criticism of the Act, such as that engaged in by Plaintiff, is
not necessarily or likely “intended to limit commercial relations with Israel.” Rather, Plaintiff’s published criticisms
of the Act are motivated by concerns about its constitutionality—the same abstract concerns that motivated Plaintiff
to bring this action even though it does not actively support boycotts of Israel.

                                                               8
           Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 9 of 30



constitutionally limited to adjudicating actual cases and controversies. See Lujan, 504 U.S. at

559. Therefore, in order for Plaintiff to show that it is likely to succeed on the merits of its

claims, it must show that it is likely to succeed on its compelled-speech theory; it cannot succeed

on the merits of its First Amendment claim by prevailing on its boycott-prohibition theory.

          Notably, the plaintiffs in both of the Israel boycotting district court cases on which

Plaintiff relies so heavily were actually engaged in boycotts of Israel. See Jordahl v. Brnovich,

336 F. Supp. 3d 1016, slip op. at 9–10 (D. Ariz. Sept. 27, 2018), appeal filed, No. 18-16896 (9th

Cir. Oct. 3, 2018) (finding that the solo practitioner who owned and operated the plaintiff law

firm refused to purchase products of several companies because those companies did business in

Israel-controlled territories); id. at 9 (finding that but for Arizona’s Israel boycotting law, the

practitioner would have extended his boycotting to his firm’s purchasing decisions); Koontz v.

Watson, 283 F. Supp. 3d 1007, 1013 (D. Kan. 2018) (“In May 2017, plaintiff Esther Koontz [a

contractor] began boycotting Israeli businesses.”). Even so, standing was a hotly contested issue

in Jordahl. See Jordahl, slip op. at 7–10. Whereas here, Plaintiff has never boycotted Israel or

expressed any desire to do so, Plaintiff clearly lacks standing to pursue its compelled-speech

theory.

          B.     Boycotting Israel is not protected by the First Amendment.

                 1.     Whether boycotting is protected by the First Amendment is a threshold
                        question under both of Plaintiff’s First Amendment theories.

          The First Amendment only protects speech or “conduct that is inherently expressive.”

Rumsfeld v. FAIR, Inc., 547 U.S. 47, 66 (2006). To prevail on its First Amendment claim,

Plaintiff must show that boycotting Israeli products is either speech or inherently expressive

conduct. This is true even of Plaintiffs’ compelled-speech theory.




                                                 9
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 10 of 30



       Whether the Act’s requirement that public contractors certify that they will not boycott

Israel unconstitutionally compels speech turns, under Plaintiff’s own argument, on whether

boycotting Israel is itself protected by the First Amendment. That is because Plaintiff does not

argue that contracting-certification requirements generally compel speech in a constitutionally

problematic way; instead, Plaintiff only argues that requiring contractors to certify that they will

not engage in protected First Amendment activity unconstitutionally compels speech.             For

example, Plaintiff’s compelled-speech argument does not suggest that a statute requiring public

contractors to certify that they are equal-opportunity employers unconstitutionally compels

contractors to espouse a message of equal-opportunity employment, or that a statute requiring

applicants for public employment to certify that they are not felons unconstitutionally compels

those applicants to espouse a message of non-felony. An argument to that effect would border

on frivolous. See, e.g., Grove City Coll. v. Bell, 465 U.S. 555, 575 (1984) (stating that a First

Amendment challenge to a requirement that recipients of federal funding certify they did not

discriminate on the basis of sex “warrant[ed] only brief consideration”).              Certification

requirements are not “compulsion[s] to disseminate a particular political or ideological

message,” United States v. Sindel, 53 F.3d 874, 878 (8th Cir. 1995), as laws that

unconstitutionally compel speech generally are, see id., but rather, require contractors “only to

provide the government with information” about whether they meet government contracting

requirements. Id. Requirements “to provide the government with information” do not generally

implicate compelled-speech concerns. Id.

       Rather, in claiming that the Act’s certification requirement unconstitutionally compels

speech, Plaintiff relies on a series of cases about oaths—many involving requirements that

applicants for some government benefit swear that they had never been a member of the



                                                10
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 11 of 30



Communist Party or like organizations—that held that government employment and other

benefits “‘may not be conditioned on an oath that one has not engaged, or will not engage[], in

protected speech activities’ or ‘associational activities within constitutional protection’” under

the First Amendment freedom of association. Doc. 3 at 10 (quoting Cole v. Richardson, 405 U.S.

676, 680 (1972)). To fall afoul of this niche rule of compelled-speech doctrine, a certification

requirement must require contractors to certify that they do not and will not engage in some

protected speech, expressive conduct, or protected associational activity (e.g., political party

membership). Thus, whether under Plaintiff’s theory that the Act unconstitutionally prohibits

Israel boycotting, or under its theory that it unconstitutionally compels certifications not to

boycott Israel, Plaintiff can only succeed if boycotting Israel is itself protected by the First

Amendment.

               2.      Boycotting Israel is not protected speech, expressive conduct, or
                       associational activity.

       The mere conduct of boycotting Israel is not protected by the First Amendment. It is

neither speech, nor is it conduct that is inherently expressive, nor associational activity that is

afforded constitutional protection.

       The act of refusing to buy a product because of the activities or residence of its maker is

neither speech nor inherently expressive conduct, no more so than the act of refusing to buy a

product simply because one does not like it. Rather, such acts are pure conduct that is merely

motivated by beliefs that can take protected form. See, e.g., Hishon v. King & Spalding, 467

U.S. 69, 78 (1984); Roberts v. U.S. Jaycees, 468 U.S. 609, 634 (1984) (“The Constitution does

not guarantee a right to choose employees, customers, suppliers, or those with whom one

engages in simple commercial transactions, without restraint from the State. A shopkeeper has




                                                11
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 12 of 30



no constitutional right to deal only with persons of one sex.”) (O’Connor, J., concurring in part

and concurring in the judgment) (emphasis added).

       Boycotting is plainly not speech. Whatever speech may accompany boycotting, the act

of boycotting itself does not communicate through words or any other inherently expressive

medium. See Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515 U.S. 557, 569

(1995) (discussing a variety of “mediums of expression” that are protected speech, such as

painting, music, marches, and parades). Boycotters boycott simply by refusing to buy things,

often without any accompanying speech at all. See Jordahl v. Brnovich, 336 F. Supp. 3d 1016,

slip op. at 10 (D. Ariz. Sept. 27, 2018), appeal filed, No. 18-16896 (9th Cir. Oct. 3, 2018)

(discussing plaintiff’s allegations that he boycotted Israel by declining to personally purchase

Sodastream home carbonation machines and Hewlett-Packard printers).

       Boycotting is also not “inherently expressive” conduct. FAIR, 547 U.S. at 66. We know

this because the Supreme Court has held it.          In FAIR, “law schools ‘expressed’ their

disagreement with the military[’s]” policy of Don’t Ask, Don’t Tell by denying military

recruiters access to their campuses. Id.     The coalition of law schools that engaged in this

conduct aptly described this refusal to deal with the military, in their Supreme Court brief, as “a

limited sort of boycott,” and argued for its First Amendment protection in those terms. Brief of

Respondents, FAIR, 2005 WL 2347175 at *29. Congress responded to this “sort of boycott” by

denying federal funding to institutions that engaged in it. FAIR, 547 U.S. at 51.

       Reviewing this funding condition, the Court held that the First Amendment would not

prohibit a federal ban of discrimination against military recruiters altogether. See id. at 60. The

Court explained, in part, that the law schools’ boycott was “not inherently expressive.” Id. at 66.

The Court reasoned that the act of excluding military recruiters from law school campuses and



                                                12
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 13 of 30



requiring them to conduct interviews at off-campus locations—a far more visible act than a

passive refusal to purchase Israeli products—was “expressive only because the law schools

accompanied their conduct with speech explaining it.” Id. “An observer who s[aw] military

recruiters interviewing away from the law school” would have “no way of knowing” why they

were interviewing off-campus absent explanatory speech. Id. And explanatory speech, the

Court held, would not suffice to transform the law schools’ unexpressive conduct into protected

expression; “[i]f combining speech and conduct were enough to create expressive conduct, a

regulated party could always transform conduct into ‘speech’ simply by talking about it.” Id.

       All this reasoning applies with much greater force to a boycott of Israeli goods. In the

first place, it is highly unlikely that an observer would ever notice, absent explanatory speech

apart from the boycott itself, that a contractor declined to purchase Israeli goods. Few people

know which goods are Israeli, much less which goods are manufactured by companies that do

business in Israel; fewer people still would keep track of which brand of printer or soda-

carbonation machine a company buys. See Jordahl, slip op. at 10 (noting that a lawyer intent on

boycotting Israel and Israel-affiliated companies only modified his purchasing decisions insofar

as he declined to purchase Hewlett-Packard printers, Sodastream soda machines, and overnight

stays from Airbnb, because those companies did business in Israel). Still fewer people are likely

to note the absence of certain companies’ goods from a contractor’s offices or operations. Cf.

FAIR, 547 U.S. at 66 (acknowledging that observers might at least notice legal military

recruiters’ presence and interviewing activity at unusual off-campus locations, such as

undergraduate campuses associated with a boycotting law school).

       If an observer did connect the dots between the absent Hewlett-Packard printers and other

Israel-affiliated goods, he would be left to guess whether coincidence, a preference for American



                                               13
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 14 of 30



products, an opposition to Israel, or any one of a large number of political views was the reason

for the inconspicuous absence of Israeli goods. In the vast majority of cases, only explanatory

speech would shed light on the fact that the boycotter was boycotting Israel at all, and express

why the boycotter was doing so. See Jordahl v. Brnovich, No 18-16896, Doc. 26 at 5 (9th Cir.

Oct. 31, 2018) (Ikuta, J., dissenting from denial of stay pending appeal) (“Until Jordahl explains

that he is engaged in a boycott [of Israel], his private purchasing decisions do not communicate

his opinions to the public.”). But as FAIR holds, the fact that conduct can be explained by

speech to spring from some political belief does not transform the conduct into an expression of

that belief. What expresses the belief is the explanatory speech. And because the relationship

between the belief and the conduct must be explained, by definition, the conduct does not

express that belief.

       Plaintiff may argue that FAIR was not about boycotting, even though the coalition of law

schools described its protest of the military as a boycott in its briefing. Even if FAIR were not

about boycotting, it is impossible to see, for the reasons given above, how the highly visible and

widely publicized protest in FAIR could somehow be less inherently expressive than a

contractor’s private choices not to purchase Israeli and Israel-affiliated goods. Whether conduct

is inherently expressive largely turns on whether it conveys a message without the help of

explanatory speech. See FAIR, 547 U.S. at 66 (“The fact that . . . explanatory speech is

necessary is strong evidence that . . . conduct . . . is not so inherently expressive that it warrants

protection”). And a series of largely unnoticed purchasing choices does not, in the mine-run of

cases, convey any message without that help. But FAIR is not the only place that the Supreme

Court has held that boycotting itself, apart from the speech that may accompany it, is not

inherently expressive.



                                                 14
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 15 of 30



       Most a propos to this case, in International Longshoremen’s Ass’n v. Allied

International, Inc., 456 U.S. 212 (1982), the Supreme Court held that a union’s “boycott” of

Soviet goods, id. at 214, taken “to protest the Russian investigation of Afghanistan,” id., was not

protected by the First Amendment. See id. at 226–27. Specifically, the longshoremen’s union at

issue there refused to unload cargoes shipped from the Soviet Union, id. at 214, forcing

importers to import goods from elsewhere. See id. at 215–16. The Court first held that the

union’s boycott was an illegal secondary boycott under the National Labor Relations Act, see id.

at 218–26, i.e., a boycott intended to force others to cease trading in Soviet goods. The Court

then summarily rejected the union’s First Amendment defense, reasoning that it had

“consistently rejected the claim that secondary picketing by labor unions . . . is protected activity

under the First Amendment,” id. at 226, and that “[i]t seems still clearer that conduct not

designed to communicate but to coerce merits still less consideration under the First

Amendment.” Id.        The Court then quoted a passage from one of its secondary picketing

opinions explaining that secondary-picketing bans permissibly “affect[] only that aspect of [a]

union’s efforts to communicate its views that calls for an automatic response to a signal, rather

than a reasoned response to an idea[.]” Id. at 226 n.26 (internal quotation marks omitted)

(quoting NLRB v. Retail Store Emps. Union, Local 1001, 447 U.S. 607, 619 (1980) (Stevens, J.,

concurring in part and concurring in the result)). Finally, the Court observed that “[t]here are

many ways in which a union and its individual members may express their opposition to Russian

foreign policy without infringing upon the rights of others.” Id. at 227.

       The public-contractor boycotts of Israel that the Act prohibits are materially identical, for

First Amendment purposes, to the boycott the Court held was plainly unprotected by the First

Amendment in Longshoremen’s. Like the Longshoremen’s boycott, the purpose of anti-Israel



                                                 15
               Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 16 of 30



boycotts is to coerce others to change their behavior. The ultimate goal of anti-Israel boycotts is

to coerce Israel to change policies that the boycotters find objectionable. See Palestinian BDS

National Committee, What is BDS?, https://bdsmovement.net/what-is-bds (explaining that the

Boycott, Divestment, Sanctions (BDS) movement “urges action to pressure Israel”). But the

intermediate goal of such boycotts is to coerce businesses to stop doing business with or in

Israel.                     See            Palestinian         BDS   National   Committee,   Economic   Boycott,

https://bdsmovement.net/economic-boycott (boasting that the BDS movement’s economic

boycotting has been a “key factor” in a sharp decline in foreign investment in Israel, has caused

major companies to “exit[] the Israeli market,” pushed Israel’s largest agricultural exporter into

bankruptcy by “push[ing]” Israeli farmers to export their produce through different exporters,

and “forced” other companies to close their operations in what the movement labels Palestinian

territory).              This kind of coercion is not protected by the First Amendment.                  As in

Longshoremen’s, people and businesses who oppose Israel have any number of ways of

expressing their opposition without coercing others.

              Notwithstanding Fair and Longshoremen’s, cases that held the First Amendment did not

protect politically motivated boycotts, Plaintiff argues “the First Amendment protects the right to

engage in politically-motivated boycotts,” Doc. 3 at 7. But this argument rests entirely on

NAACP v. Claiborne Hardware Co., 458 U.S. 886 (1982). See Doc. 3 at 7–9 (discussing only

Claiborne Hardware and cases that “reaffirmed” it by distinguishing it in support of its argument

that the First Amendment protects politically motivated boycotts).4 Decided the same year as

Longshoremen’s, and twenty-four years before FAIR, Claiborne Hardware is eminently

distinguishable from this case in two critical respects. First, boycotts of Israel do not implicate
                                                            
4
  See FTC v. Superior Court Trial Lawyers Ass’n, 493 U.S. 411, 425–28 (1990) (limiting Claiborne Hardware to its
facts); Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S. 492, 508 (1988) (distinguishing
Claiborne Hardware).

                                                                      16
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 17 of 30



the right to petition. Second, Claiborne Hardware did not hold that boycotting itself is protected

by the First Amendment.

       In 1965, Charles Evers organized the Claiborne County Branch of the NAACP in

Claiborne County, Mississippi. See Claiborne Hardware, 458 U.S. at 898. The local chapter of

the NAACP that Evers organized petitioned public officials to desegregate. See id. at 899. The

petition did not meet with a favorable response, and the local NAACP consequently voted

unanimously to boycott white business. See id. at 900. In response, white merchants sued the

NAACP and black citizens who participated in the boycott. See id. at 889–90. The state courts

found the defendants liable for malicious interference with the plaintiffs’ businesses, see id. at

891, and concluded that the boycott and the speech encouraging it were unprotected by the First

Amendment. See id. at 895.

       The Supreme Court reversed. The Court began its analysis of whether the defendants’

activities were protected by the First Amendment by observing that the “boycott . . . took many

forms.” Id. at 907. First, the Court observed, “[t]he boycott was launched at a meeting . . .

attended by several hundred persons.” Id. Second, its purpose was to “secure compliance by

both civic and business leaders with a lengthy list of demands for equality and racial justice.” Id.

Third, it was “supported by speeches and nonviolent picketing.” And fourth, “[p]articipants

repeatedly encouraged others to join in its cause.” Id. The Court explained that “[e]ach of these

elements of the boycott”—public meetings, lists of demands, speeches, nonviolent picketing,

encouraging others to join—“is a form of speech or conduct that is ordinarily entitled to

protection under the First and Fourteenth Amendments.” Id. (emphasis added). The Court

proceeded to explain why each of these elements of the boycott was protected. It explained that

under settled doctrine the First Amendment protected the freedom of association and peaceable



                                                17
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 18 of 30



assembly, see id. at 908–09, that it protected the boycotters’ “peaceful picketing,” id. at 909, that

it protected the boycotters’ “public address” promoting the boycott and “personal solicitation”

encouraging others to join, id., and that it even protected the boycotters “‘threat[s]’ of social

ostracism,” inasmuch as those threats were expressed in speech. Id. at 910.

       “In sum,” the Court concluded, “the boycott clearly involved constitutionally protected

activity”—namely, the “elements of speech, assembly, association, and petition” that

accompanied the boycott itself. Id. at 911 (emphasis added). Nowhere in its opinion did the

Court say that the act of refusing to buy from white merchants itself was protected by the First

Amendment. Rather, what the Court held protected were the boycotters’ list of demands, the

meetings they held to organize the boycott, and the speech they made to promote it—speech for

which Evers and his cohorts were specifically held liable by the state courts. See id. at 902, 906,

926–29 (discussing the state trial court’s reliance on Evers’s speeches).

       Critically, however, the Court’s analysis did not stop there. Even though the state courts

had imposed liability on the defendants for pure First Amendment speech, assembly, and

petition, the Court acknowledged that “[t]he presence of [this] protected activity . . . d[id] not end

the relevant constitutional inquiry.”     Id. at 912.    This was so because federal and state

governments may regulate even “nonviolent and totally voluntary boycotts [that] have a

disruptive effect on local economic conditions,” or, under cases like Longshoremen’s, “may . . .

prohibit[]” union “[s]econdary boycotts and picketing[.]” Id. (citing Longshoremen’s, 456 U.S.

at 222–23; Retail Store Emps., 447 U.S. at 617–18).

       The reason that the Court ultimately held that the defendants’ boycotting activities

overcame the Court’s precedent permitting prohibitions of boycotting was that “a major purpose

of the boycott in this case was to influence government action.” Id. at 914 (emphasis added).



                                                 18
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 19 of 30



Analogizing from its Noerr-Pennington antitrust doctrine, under which anticompetitive conduct

that is intended to influence legislation is (broadly speaking) immune from antitrust liability on

the theory that holding people liable for such conduct would deny their First Amendment “right

. . . to petition their representatives in government,” id. at 913 (citing Eastern Railroad

Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 139–40 (1961)), the Court

concluded that ‘[t]he right of the States to regulate economic activity could not justify a complete

prohibition against a nonviolent, politically motivated boycott designed to force governmental

and economic change and to effectuate rights guaranteed by the Constitution itself.” Id. at 914.

       In suppor, the Court cited two cases—a Supreme Court opinion doubting the assumption

that a boycott of segregated city buses intended to induce the city to desegregate them could be

constitutionally prohibited, id. at 914 n.48 (citing NAACP v. Alabama ex rel. Flowers, 377 U.S.

28, 307 (1964)), and an Eighth Circuit opinion that held that a feminist group’s boycott of states

that had not ratified the Equal Rights Amendment was protected by the First Amendment

because “‘the right to petition is of such importance that it is not an improper interference under

state tort law even when exercised by way of a boycott.’” Id. (quoting Missouri v. Nat’l Org. for

Women, Inc., 620 F.2d 1301, 1317 (8th Cir. 1980)). Both of these cases, of course, involved

boycotts intended to petition state governments to change their laws—something which the First

Amendment explicitly and specifically protects. See U.S. Const. amend. I (“Congress shall make

no law . . . abridging . . . the right of the people peaceably to assemble, and to petition the

Government for a redress of grievances.”). Only after going through this petition-specific

analysis did the Court finally “hold that the nonviolent elements of [the boycotters’] activities

[we]re entitled to the protection of the First Amendment.” Claiborne Hardware, 458 U.S. at

915.



                                                19
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 20 of 30



       Given this critical turn in the Court’s opinion, lower courts—including the Eighth

Circuit—have read Claiborne Hardware as merely extending the Noerr-Pennington doctrine’s

protection of government-petitioning anticompetitive conduct from antitrust liability to

government-petitioning boycotts from liability under state law.        In In re IBP Confidential

Business Documents Litigation, 755 F.2d 1300 (8th Cir. 1985), the Eighth Circuit wrote of

Claiborne Hardware that “[c]ourts have indeed extended the [Noerr-Pennington] doctrine

beyond the antitrust context to a limited extent. For example, certain efforts to influence the

government do not give rise to liability for tortious interference with business.” Id. at 1312

(emphasis added) (citing Claiborne Hardware, 458 U.S. at 915). Other courts of appeals agree

with the Eighth Circuit’s reading of Claiborne Hardware. See Barnes Found. v. Twp. of Lower

Merion, 242 F.3d 151, 159 (3d Cir. 2001); Cardtoons, L.C. v. Major League Baseball Players

Ass’n, 208 F.3d 885, 889 (10th Cir. 2000) (en banc); id. at 895 (Lucero, J., dissenting); Jews for

Jesus, Inc. v. Jewish Cmty. Relations Council of N.Y., Inc., 968 F.2d 286, 298 (2d Cir. 1992).

       Plaintiff’s attempt to export the rule of Claiborne Hardware to the anti-Israel boycotting

at issue here fails, then, on two levels. The first is that boycotts of Israel do not implicate the

right to petition. The First Amendment protects the right to “petition the Government,” not other

nations’ governments, and it was that right and that right alone that the Claiborne Hardware

Court ultimately concluded overcame “[t]he right of the States to regulate boycotting activity[.]”

Claiborne Hardware, 458 U.S. at 914. Boycotts of Israel do not petition the federal government

or the State of Arkansas; if they petition any government, it is the government of Israel. More

concretely, they petition private actors to stop doing business with Israel. Claiborne Hardware

ultimately stands for the proposition that “the right to petition is of such importance,” id. at 914

n.48 (internal quotation marks omitted) (quoting National Organization for Women, 620 F.2d at



                                                20
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 21 of 30



1317), that it supersedes “the strong governmental interest in . . . economic regulation[.]” Id. at

912.    Boycotts intended to express disagreements with foreign nations do not, as

Longshoremen’s squarely held, overcome that powerful interest.

       The second reason Plaintiff’s attempt to export Claiborne Hardware to the circumstances

of this case fails is that Claiborne Hardware did not hold that boycotting itself is protected.

Rather, in reviewing a state-court judgment that held the NAACP and others liable for giving

boycott-advocating speeches, encouraging others to participate with non-coercive threats of

social ostracism, and gathering peaceably to make boycotting plans, the Court held that these

forms of pure speech and protected association were protected by the First Amendment.

Arkansas’s law, unlike Mississippi’s state-court judgment, does not sanction boycotting

advocacy, or associating with boycott supporters; it only prohibits “actions” that boycott Israel,

like “refusals to deal [and] terminating business activities[.]”       Ark. Code Ann. § 25-1-

502(1)(A)(i). Indeed, Arkansas public contractors, such as Plaintiff, are free to advocate others

to boycott Israel as much as they want.

       Notably, this reality about Arkansas’s law not only distinguishes Claiborne Hardware,

but the district court decision on which Plaintiff relies most heavily. In Jordahl, an Arizona

district court held that Arizona’s prohibition on public contractors boycotting Israel was likely

unconstitutional. That decision is currently on appeal, and Defendants do not think it was

correctly decided. Yet in holding that Arizona’s law was likely unconstitutional, the district

court relied on features of Arizona’s definition of Israel boycotting that, in the district court’s

view, limited prohibited boycotts to those, like the one in Claiborne Hardware, that were part of

some collective, associative action.      Specifically, the district court relied on language in

Arizona’s Israel-boycotting definition that appeared to the district court to limit prohibited



                                                21
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 22 of 30



boycotting to boycotts “taken . . . in compliance with or adherence to calls for a boycott of

Israel.” Jordahl, slip op. at 22 (emphasis in original) (internal quotation marks omitted) (quoting

Ariz. Rev. Stat. 35-393(1)(a)). According to the district court, such “collective” boycotts, which

were all, in its view, that the statute prohibited, were protected by Claiborne Hardware, unlike

the sort of boycott at issue in FAIR. Id. at 23. The district court “agree[d] [with Arizona] that

the commercial actions (or non-actions) of one person, e.g., the decision not to buy a particular

brand of printer to show support for a political position, may not be deserving of First

Amendment protections on the grounds that such action is typically only expressive when

explanatory speech accompanies it.” Id.

       Whether or not that district court correctly interpreted Arizona law, which is doubtful, see

Ariz. Rev. Stat. § 35.393(1)(b) (adding that Israel-boycotting activities are, under Arizona’s

definition, also boycotts of Israel if they discriminate on the basis of nationality, national origin,

or religion and lack a valid business purpose, whether or not they respond to calls for a boycott),

or Claiborne Hardware, which is also doubtful, Arkansas’s law plainly lacks the problematic

and ultimately fatal feature the district court identified in Arizona’s. Nothing about its definition

of Israel boycotts limits Israel boycotts to collective ones, or ones taken in response to some

protected boycott advocacy; rather, its definition embraces the purely individual actions that the

Jordahl court agreed were likely unprotected. Under the Jordahl court’s own reasoning, then,

Arkansas’s law is not invalid on its face, because it applies to an abundance of boycotts that the

Jordahl court conceded states may constitutionally prohibit. Nor is it invalid as applied to

Plaintiff because it has not alleged even an interest in participating in the sort of “collective”

boycott that the Jordahl court understood Claiborne Hardware to exclusively protect.




                                                 22
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 23 of 30



Boycotting Israel, as defined under Arkansas law, is therefore not protected by the First

Amendment.

               3.      Because boycotting Israel is not protected by the First Amendment, both
                       of Plaintiff’s First Amendment theories fail.

       Because boycotting Israel, as defined by the Act, is neither protected speech, nor

inherently expressive conduct, nor associational activity, Plaintiff cannot prevail on either of its

First Amendment theories. Most obviously, even if it had standing to raise the theory, which it

does not, Plaintiff cannot prevail on its theory that the Act unconstitutionally prohibits Israel

boycotting if Israel boycotting is not constitutionally protected.        But Plaintiff also cannot

succeed, for the same reason, on its theory that the certification requirement unconstitutionally

compels speech.

       As discussed above, see Section B.1, supra, the First Amendment does not, generally,

prohibit certification requirements for obtaining some government benefit (such as government

employment or government contracts) that merely elicit information about the applicant. The

one situation in which such certification requirements or mandated oaths do become

constitutionally problematic is when the state requires applicants for government benefits to

certify that they “will not engage . . . in protected speech activities,” or “associational activities

within constitutional protection.” Cole v. Richardson, 405 U.S. 676, 680 (1972). Thus, the cases

Plaintiff cites in support of its compelled-speech theory involved bar application questions on

whether applicants had been members of the Communist Party, see Doc. 3 at 10 (citing Baird v.

State Bar of Arizona, 401 U.S. 1, 4–5 (1971)), tax-form questions on whether applicants for tax

exemptions supported foreign governments hostile to the United States, id. (citing Speiser v.




                                                 23
               Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 24 of 30



Randall, 357 U.S. 513, 514–15 (1958)),5 mandatory oaths by state employees to oppose the

overthrow of the federal or state governments, which the Court held constitutional, see Cole, 405

U.S. at 686–87, and terminations of state employees for supporting their superiors’ political

opponents. See Doc. 3 at 11 (citing Jantzen v. Hawkins, 188 F.3d 1247, 1251 (10th Cir. 1999)).

              Boycotting Israel to influence Israel and private businesses who deal with Israel, as

explained, is not protected speech, protected expressive conduct, or protected associational

activity. Therefore, requiring government contractors to certify that they will not boycott Israel

does not violate the First Amendment, as interpreted in the oath cases on which Plaintiff relies.

Both of Plaintiffs’ First Amendment theories are therefore likely to fail, and Plaintiff’s motion

for a preliminary injunction must be denied.

II.           If preliminary relief is denied, Plaintiff will not suffer irreparable harm.

              In addition to failing to show a likelihood of success on the merits, Plaintiff has failed to

allege that it will suffer irreparable harm if a preliminary injunction is denied because the harm

that it alleges is purely monetary.

              “[T]emporary loss of income, ultimately to be recovered, does not usually constitute

irreparable injury.” Sampson v. Murray, 415 U.S. 61, 90 (1974). The only injury that Plaintiff

has alleged it has suffered or will suffer without a preliminary injunction is a “los[s] [of]

advertising revenue[.]” Doc. 3 at 18. Plaintiff claims that it cannot recover this revenue in a

court of law. See id. But Plaintiff does not explain why this is the case, and it is impossible to

see why it would be. If Plaintiff ultimately prevailed on the merits and persuaded this Court that

the Act is unconstitutional, it could recover such advertising revenues that it proved it lost as a

result of the Act.                        Plaintiff has specifically alleged that, given its long history of selling
                                                            
5
 In Speiser, the Court actually assumed that such questions did not violate the First Amendment, see Speiser, 357
U.S. at 519–20, and only held the questions violated due process by placing a burden of proof on the applicants for
exemption. See id. at 521–29.

                                                                   24
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 25 of 30



advertising space to the College, it would have executed two advertising contracts in October

2018 but for the Act’s certification requirement; there is no reason why, were Plaintiff to succeed

on the merits, it could not recover the revenue it would have received under those contracts, or

why this Court could not estimate the number of contracts Plaintiff would have executed

between itself and the College but for the Act, given the parties’ prior business dealings.

       Plaintiff relies on the Eighth Circuit’s statement in Phelps Roper v. Troutman, 662 F.3d

485 (8th Cir. 2011), overruled on other grounds, 712 F.3d 712 (8th Cir. 2013), that “[w]hen a

plaintiff has shown a likely violation of his or her First Amendment rights, the other

requirements for obtaining a preliminary injunction are generally deemed to have been satisfied,”

id. at 488, and its statement in Phelps-Roper v. Nixon, 509 F.3d 480 (8th Cir. 2007), that “a ‘loss

of First Amendment freedoms, for even minimal periods of time, unquestionably constitutes

irreparable injury.’” Id. at 483 (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976) (plurality

opinion)). All of these statements trace back to Elrod. See Troutman, 662 F.3d at 488 (citing

Phelps-Roper v. Nixon, 545 F.3d 685, 688 (8th Cir. 2008) (citing Elrod, 427 U.S. at 373))).

Elrod, correctly understood, holds only that “First Amendment interests were either threatened or

in fact being impaired at the time relief was sought,” in the sense that the plaintiff is either being

threatened with some sanction, or is self-censoring his speech, at the relevant time. Elrod, 427

U.S. at 373.

       In Elrod, a class of Chicago sheriff employees who were required to join the sheriff’s

political party to keep their jobs sued. The district court denied preliminary relief because the

plaintiffs had an adequate remedy at law, namely backpay. See id. at 373. The Court rejected

this argument against irreparable harm because, “[a]t the time a preliminary injunction was

sought in the District Court, one of the [plaintiffs] was only threatened with discharge,” while



                                                 25
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 26 of 30



others “had agreed to provide support for the Democratic Party in order to avoid discharge.” Id.

The Court said it was therefore “clear . . . that First Amendment interests were either threatened

or in fact being impaired at the time relief was sought.” Id. Rather than rejecting the district

court’s rationale that retrospective monetary injuries, in the form of politically motivated

termination, could not support injunctive relief, the Court reasoned that injunctive relief was

proper because some plaintiffs were still being put to the unconstitutional choice of self-

censoring or losing their jobs at the time injunctive relief was sought, while others were actively

self-censoring and suffering another kind of irreparable and intangible injury.

       Where, by contrast, the First Amendment injury a plaintiff is suffering at the time he

moves for injunctive relief is compensable monetary harm, courts read Elrod to preclude

preliminary injunctive relief. In National Treasury Employees Union v. United States, 927 F.2d

1253 (D.C. Cir. 1991), the D.C. Circuit in an opinion by then-Judge Thomas held that a law

forbidding federal employees from receiving honoraria for speeches or articles could not be

enjoined on a preliminary basis, because plaintiffs’ harms at the relevant time were only

monetary. The statute did not prevent government employees from giving speeches, see id. at

1255; the only ostensibly irreparable harm plaintiffs could point to is that “if [the court did] not

grant them preliminary relief, they will not be paid for speaking or writing before the district

court rules on the merits.” Id. at 1255–56. That harm, Justice Thomas reasoned, could be

remedied at the conclusion of the case, and thus was not irreparable. See id. at 1256. As for

Elrod, Justice Thomas explained that while the statute might violate the First Amendment, it was

not presently threatening or impairing plaintiffs’ First Amendment interests, as Elrod required;

“[n]othing in the record convince[d] [him] that the [plaintiffs] will cease speaking or writing

before the district court resolves their constitutional challenges.” Id. at 1255. Other circuits read



                                                 26
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 27 of 30



Elrod the same way. See, e.g., Google, Inc. v. Hood, 822 F.3d 212, 227–28 (5th Cir. 2016)

(holding that First Amendment plaintiffs must show that First Amendment interests are in fact

being threatened or impaired at the time relief is sought, and that “invocation of the First

Amendment cannot substitute for the presence of an imminent, non-speculative irreparable

injury”); Bronx Household of Faith v. Bd. of Educ. of City of New York, 331 F.3d 342, 350 (2d

Cir. 2003) (explaining that “in instances where a plaintiff alleges injury from a rule or regulation

that may only potentially affect speech, the plaintiff . . . must demonstrate that the injunction

will prevent the feared deprivation of speech rights” and cannot rely on a presumption of

irreparable harm).

       Here, had Plaintiff chosen to certify that it would not boycott Israel, it could at least claim

that it was suffering the irreparable harm of being coerced into the certification. If this Court

held that such coercion likely violated the First Amendment, it could also conclude that

Plaintiff’s First Amendment interests were being impaired at the present time, in a manner that

only preliminary relief could cure. But because Plaintiff opted not to certify, whatever First

Amendment interests it has in boycotting Israel, and in not certifying, are neither being

threatened nor impaired at the present time. They are not being impaired because Plaintiff, by its

choice, remains free to boycott Israel, and to say whatever it wants about its intentions to boycott

Israel. They are not being threatened because Plaintiff has already opted to accept the monetary

costs of declining to certify that it will not boycott Israel, like the plaintiffs in Elrod who opted

for being discharged rather than switching their party registration and who the Court implicitly

concluded were not irreparably harmed, or like the plaintiffs in National Treasury Employees

Union who chose to remain in government employment and lose honoraria for their speeches,

and were therefore unable to show irreparable harm. Plaintiff’s speech, by its own choice,



                                                 27
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 28 of 30



remains entirely untrammeled; all that it has lost and will lose during the pendency of this action

are compensable advertising revenues, which are not irreparable as a matter of law. Plaintiff’s

motion must therefore be denied.

III.   The balance of harms weighs in favor of the State.

       If injunctive relief is denied, Plaintiff will suffer no irreparable harm whatsoever; the

injury it will suffer during the pendency of this action is monetary and compensable.              If

injunctive relief is granted, however, the State will suffer irreparable harm. “‘Any time a State is

enjoined by a court from effectuating statutes enacted by representatives of its people, it has

suffered a form of irreparable injury.’” Maryland v. King, 567 U.S. 1301, 133 S. Ct. 1, 3 (2012)

(Roberts, C.J., in chambers) (alteration omitted) (quoting New Motor Vehicle Bd. of Cal. v. Orrin

W. Fox Co., 434 U.S. 1345, 1351 (1977) (Rehnquist, J., in chambers)); accord Hand v. Scott,

888 F.3d 1206, 1214 (11th Cir. 2018). The balance of equities thus weighs in favor of retaining

the status quo and allowing the Act to remain in effect.

IV.    If this Court grants injunctive relief, it should limit it to Plaintiff.

       If this Court concludes that Plaintiff’s First Amendment rights are likely violated by the

Act, that it is suffering irreparable harm, and that it is entitled to injunctive relief, this Court

should limit that relief to Plaintiff. Plaintiff simply has no standing, absent a class certification

order, to litigate on behalf of others or obtain injunctive relief on behalf of others. Even if this

Court concludes that the Act is likely unconstitutional on its face, the Court has no power to

grant injunctive relief in favor of countless non-parties. See Trump v. Hawaii, 138 S. Ct. 2392,

2424–29 (Thomas, J., concurring).




                                                 28
          Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 29 of 30



                                              CONCLUSION

          For the foregoing reasons, Plaintiff’s motion for a preliminary injunction should be

denied.

                                               Respectfully submitted,

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                                                  29
        Case 4:18-cv-00914-BSM Document 14 Filed 12/28/18 Page 30 of 30



                                  CERTIFICATE OF SERVICE

        I, Dylan L. Jacobs, hereby certify that on December 28, 2018, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which shall send notification of

the filing to any participants.


                                                    /s/ Dylan L. Jacobs
                                                    Dylan L. Jacobs




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